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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         WAYCROSS DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )            5:21-CR-09-20
                                              )
BRETT BUSSEY                                  )


GOVERNMENT’S RESPONSE TO BUSSEY’S BRADY MOTION (DOC. 1128)

       The United States is aware of its duties under Brady v. Maryland, 373 U.S. 83

(1963) and its progeny and will comply with its duties and responsibilities.

                                              JILL E. STEINBERG

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